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 8                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                      SAN JOSE DIVISION
10

11 Google LLC,                                        Case No. 5:17-cv-04207-EJD
12                                                    REPLY IN SUPPORT OF GOOGLE LLC’S
                   Plaintiff,
                                                      MOTION FOR DEFAULT JUDGMENT AND
13                                                    PERMANENT INJUNCTIVE RELIEF
           vs.
14                                                    HEARING
   Equustek Solutions Inc., Clarma
15 Enterprises Inc., and Robert Angus,                DATE: January 18, 2018
                                                      TIME: 9:00 a.m.
16                                                    PLACE: Courtroom 4 - 5th Floor
                   Defendants.
                                                      JUDGE: Hon. Edward J. Davila
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                                                                              Case No. 5:17-cv-04207-EJD
        REPLY IN SUPPORT OF GOOGLE LLC’S MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTIVE RELIEF
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 1                                              ARGUMENT
 2           Pursuant to N.D. Cal. Civ. L.R. 7-3(a) Defendants Equustek Solutions Inc., Clarma

 3 Enterprises Inc., and Robert Angus (collectively “Equustek”) were required to file any opposition

 4 to Google’s pending Motion for Default Judgment and Permanent Injunctive Relief by Thursday,

 5 November 30, 2017. Equustek failed to do so. Accordingly, any opposition is waived and the

 6 Court should issue a default judgment permanently enjoining Equustek’s enforcement of the

 7 Canadian Order in the United States.

 8           After Google filed its opening brief, the Honorable Judge Tigar ordered entry of default

 9 judgment in highly analogous circumstances. In Electronic Frontier Foundation v. Global Equity

10 Management (SA) Pty Ltd., No. 17-cv-02053, 2017 WL 5525835 (N.D. Cal. Nov. 17, 2017),

11 Judge Tigar determined this Court had personal jurisdiction over Global Equity Management

12 (“GEMSA”), an Australian company which had sought and obtained an Australian defamation

13 judgment against the Electronic Frontier Foundation (“EFF”). Id. at *5-10. The Australian

14 judgment granted GEMSA an injunction requiring EFF, a California-headquartered non-profit

15 corporation, to remove a June 2016 blog post which had called GEMSA a “patent troll” and

16 dubbed one of GEMSA’s U.S. patents a “Stupid Patent of the Month.” Id. at *1-2. Relying on

17 Yahoo! Inc. v. La Ligue Contre Le Racisme, 433 F.3d 1199 (9th Cir. 2006) (en banc), Judge Tigar

18 concluded that the exercise of personal jurisdiction over GEMSA was appropriate because “The
19 [Australian] injunction calls for a California nonprofit to carry out activities in California,

20 including removing the allegedly offending article, along with references to the article found on

21 ‘any and all other websites.’” This is the same analysis advanced by Google, with respect to this

22 Court’s jurisdiction to order non-enforcement of the injunction against Google’s U.S. search

23 results which Equustek obtained in Canada. See Google’s Motion for Default Judgment (Dkt. 53)

24 at 2-3.

25           After finding jurisdiction, Judge Tigar exhaustively evaluated the Eitel default judgment

26 factors and the merits of EFF’s claim, concluding that EFF was entitled to “a declaration (1) that
27 the Australian Injunction is repugnant to the United States Constitution and the laws of California

28 and the Unites States; and (2) that the Australian [I]njunction cannot be recognized or enforced in

                                                     1                        Case No. 5:17-cv-04207-EJD
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 1 the United States.” Id. at *17. Although Google’s case does not relate to a foreign defamation

 2 action as the order in Electronic Frontier Foundation did, the same result is correct here based on

 3 the First Amendment and Section 230 of the Communications Decency Act. See Google’s Motion

 4 for Default Judgment (Dkt. 53) at 5-8.

 5         Given the clarity of the legal issues before the Court, and the absence of any argument

 6 from Defendants, Google is willing to submit its motion for resolution on the papers without oral

 7 argument.

 8                                           CONCLUSION
 9         Google respectfully requests the Court issue a final judgment of default and permanently

10 enjoin Equustek’s enforcement of the Canadian Order in the United States.

11 DATED: December 5, 2017                     QUINN EMANUEL URQUHART &
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13
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        REPLY IN SUPPORT OF GOOGLE LLC’S MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTIVE RELIEF
